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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION

In re:                                                       Case No: 17-18317-SMG
                                                             Chapter 13
         VICTORIA CALIXTO

                             Debtor                  /

                                MOTION TO REOPEN CHAPTER 13 CASE

                   COMES NOW the Debtor, VICTORIA CALIXTO by and through the undersigned counsel
and files this Motion to Reopen Chapter 13 Case and states as follows:
    1. This case was closed on September 28, 2022. (D.E. 52)
    2. The Court issued the Bankruptcy Discharge to the Debtor on June 1, 2022. (D.E. 48)
    3. The 3rd Amended Chapter 13 Plan was confirmed on April 30, 2018. (D.E. 38)
    4. The Confirmed Plan provided for the repayment of 100% of all allowed claims by the general
         unsecured creditors. (D.E. 35).
    5. The Chapter 13 Trustee filed a Final Report and Account on August 26, 2022. (D.E. 50)
    6. The Chapter 13 Trustee’s Final Report and Account confirms that all allowed claims by the
         general unsecured creditors were paid in full.
    7. During the pendency of the Debtor’s Chapter 13 bankruptcy case, she suffered a personal
         injury.
    8. On March 17, 2021 the Debtor slipped and fell while visiting Gulfstream Park in Hallandale
         Beach, Florida.
    9. On June 30, 2022, the Debtor filed a lawsuit against Gulfstream Park Racing Association, Inc.
         (“Gulfstream”) for damages she suffered as a result of the slip and fall. (Case # CACE-22-
         009588; Circuit Court of the 17th Judicial Circuit in and for Broward County, Florida).
    10. Gulfstream filed a Motion for Final Summary Judgment in the personal injury lawsuit on October
         19, 2022.
    11. Gulfstream’s Motion for Final Summary Judgment argues that the Debtor should be judicially
         estopped from pursuing the personal injury claim as the claim was not disclosed in her Chapter
         13 Bankruptcy case.
    12. The Debtor inadvertently failed to amend her bankruptcy schedules to disclose this personal
         injury claim.
    13. None of the creditors were prejudiced by the Debtor’s failure to disclose the personal injury
         claim as all allowed claims filed by the general unsecured creditors were paid in full in the
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       confirmed plan.
   14. The Debtor would like to reopen the case to file amended bankruptcy schedules to disclose the
       existence of the personal injury claim.
               WHEREFORE, the Debtor, VICTORIA CALIXTO, respectfully request to this Court that
       this Motion to Reopen Chapter 13 Case be GRANTED.
                                     Local Rule 9011-4(B) Certification
       I hereby certify that I am admitted to the Bar of the United States District Court for the Southern
District of Florida and I am in compliance with the additional qualifications to practice in this court set
forth in Local Rule 2090-1(A).


                                               Respectfully submitted:

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